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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                 Eastern Division

Bridgette Villanueva
                                  Plaintiff,
v.                                                       Case No.: 1:16−cv−04587
                                                         Executive Committee

                                  Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, March 25, 2024:


         MINUTE entry before the Executive Committee: Bridgette Villanueva is a
restricted filer in the Northern District of Illinois, see In Re: Bridgette Villanueva,
16−cv−04587. The Executive Committee has reviewed documents 18, 19, and 20 and
denies Ms. Villanueva leave to file these submissions. Document 18 is a motion seeking
leave from the Executive Committee to file a new complaint. Ms. Villanueva did not
attach a new complaint to this motion for the Executive Committee to review. The
submission does not allow for the Executive Committee to determine if the claim should
proceed. Documents 19 and 20 were submitted on the same day and are voluminous. They
appear to be duplicative. Ms. Villanueva again did not submit a complaint that the
Executive Committee could review. It appears that these documents are her files regarding
concerns over her credit records. Documents 19 and 20 are also not in compliance with
the November 9, 2016 Executive Committee order (R.5) that requires that when Ms.
Villanueva submits a complaint to be considered by the Executive Committee, it shall be
accompanied by a motion captioned "Motion Seeking Leave to File Pursuant to Order of
Executive Committee, and therefore the Committee denies leave to file these documents.
The Order (R.5) requires that the motion shall, in addition to requesting leave to file the
complaint, include a sworn statement certifying that the claims raised by or on behalf of
Ms. Villanueva in the complaint are new claims never before raised in any federal court."
No such motion was filed with this submission, in violation of the requirements of the
Court's previous order. In addition, the orders of April 27, 2016 and November 9, 2016
remain in force and any documents submitted by or on behalf of Ms. Bridgette Villanueva
shall be reviewed by the Executive Committee to determine whether they should be filed.
Ms. Villanueva is warned that failure to comply with the Executive Committee orders will
lead to additional sanctions, including, but not limited to additional filing restrictions, civil
contempt, or monetary sanctions. The Clerk shall cause a copy of this order to be mailed
to Ms. Villanueva at 1001 South State Street. Apt. #2102, Chicago, IL 60605. Such
mailing shall be by certified or registered mail, return receipt requested. Mailed notice.
(lw, )
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